Case 2:21-cr-00111-WBS Document 159-1 Filed 06/24/24 Page 1 of 5




                   EXHIBIT A
     Case 2:21-cr-00111-WBS Document 159-1 Filed 06/24/24 Page 2 of 5       1

 1                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA
 2

 3      United States of America,
                Plaintiff,
 4
        vs.                                   Sacramento, California
 5                                            No. 2:21-cr-00111
        Robert Allen Pooley,                  Fri., May 24, 2024
 6              Defendant.                    10:56 a.m.
        _________________________/
 7
                       PARTIAL TRANSCRIPT OF JURY TRIAL
 8            BEFORE THE HONORABLE WILLIAM B. SHUBB, SENIOR JUDGE
                                   ---oOo---
 9

10     APPEARANCES:

11      For the Plaintiff:                   United States Attorney
                                             501 I Street, Suite 10-100
12                                           Sacramento, California 95814
                                             By: Katherine Lydon
13                                           Dhruv M. Sharma
                                             Assistants U.S. Attorney
14

15      For the Defendant:                   Office of the Federal
                                             Defender
16                                           801 I Street, 3rd Floor
                                             Sacramento, California 95814
17                                           By: Mia Crager
                                             Meghan McLoughlin
18                                           Assistants Federal Defender

19
        Official Court Reporter:             Kimberly M. Bennett,
20                                           CSR, RPR, RMR, CRR
                                             501 I Street
21                                           Sacramento, CA 95814

22

23      Proceedings recorded by mechanical stenography, transcript
        produced by computer-aided transcription
24

25



                KIMBERLY BENNETT, OFFICIAL COURT REPORTER, USDC
     Case 2:21-cr-00111-WBS Document 159-1 Filed 06/24/24 Page 3 of 5        2

 1         (Prior proceedings held.)

 2         (Jury not present, 11:09 a.m.)

 3                 THE COURT:   I don't know of any better time to

 4     finally rule upon the motions for judgment of acquittal which

 5     I've had more time to think about since the arguments at the

 6     conclusion of the case.      And I didn't grant the motion with

 7     respect to Counts 4 and 6 at the time it was made because I

 8     wanted to wait to see whether the jury would convict on those

 9     counts.    But the jury has now convicted on those counts and I

10     don't want to prolong or to distort the proceedings by having

11     the probation officer create a report that assumes convictions

12     on those counts if I'm going to grant the motion for judgment

13     of acquittal.

14         By not granting it earlier, my understanding of the law is

15     that I preserved the right of the government to appeal.          I

16     could have granted the motions and it would be my understanding

17     that if I did so before the jury returned its verdict, the

18     government could not appeal and the government could not

19     recharge those counts, and that would be the end of it.          So

20     whether you may agree with me or not, I think I did the

21     government a favor by not ruling when I could have earlier.

22         But for the reasons that Ms. Crager stated in her

23     arguments, both written and the oral arguments to the Court,

24     the Court finds that there is insufficient evidence to sustain

25     a conviction on Counts 4 and 6 of the indictment.          So the Court



                 KIMBERLY BENNETT, OFFICIAL COURT REPORTER, USDC
     Case 2:21-cr-00111-WBS Document 159-1 Filed 06/24/24 Page 4 of 5         3

 1     grants the motion for judgment of acquittal on each of those

 2     counts.

 3         Now, with regard to the remaining counts, this matter is

 4     referred to the probation officer for presentence report.        The

 5     matter will be continued to August the 26th, if that's

 6     convenient to both sides, at 9:00 a.m.

 7                 MS. LYDON:    Thank you, Your Honor.

 8                 MS. CRAGER:   Yes, Your Honor.     That's fine.

 9         And I did just want to state that we do intend to renew the

10     Rule 29 motion, at least to Count 5, and we intend to do so in

11     writing.

12                 THE COURT:    All right.   I guess I can't stop you.

13                 MS. CRAGER:   August 26th, Your Honor?

14                 THE COURT:    Yes.

15         But you're kind of defeating the -- my purpose stated a

16     moment ago.    I don't want the probation officer to prepare a

17     report on counts that are ultimately going to be dismissed.        I

18     don't think I'm going to dismiss Count 5, but I can't stop you

19     from filing the motion.

20                 MS. CRAGER:   Yes, Your Honor.     We could push out the

21     date a couple of weeks.

22                 THE COURT:    What do you mean push it out?

23                 MS. CRAGER:   The August 26th date.      We intend to file

24     a written motion soon.

25                 THE COURT:    Would you rather keep the August 26th



                 KIMBERLY BENNETT, OFFICIAL COURT REPORTER, USDC
     Case 2:21-cr-00111-WBS Document 159-1 Filed 06/24/24 Page 5 of 5         4

 1     date or push it out?

 2                 MS. LYDON:    Let's keep it.    I think Your Honor knows

 3     the evidence and --

 4                 THE COURT:    We'll keep it in there.

 5         So, Mr. Pooley, a report is going to be prepared now by a

 6     probation officer in order to assist the Court in determining

 7     the sentence in your case.       You're going to be asked to give

 8     information to the probation officer in connection with that

 9     report.    If you wish to have Ms. Crager or Ms. McLoughlin with

10     you when you talk to the probation officer, you may have one or

11     both of them present.

12         You're ordered to be back here in this court at 9:00 a.m.

13     on August the 26th for judgment and sentence.

14         Is there anything else at this time?

15                 MS. LYDON:    No.   Thank you, Your Honor.

16                 MR. SHARMA:   No.    Thank you, Your Honor.

17                 THE COURT:    All right.

18                     (Proceedings adjourned, 11:13 a.m.)

19                                     ---oOo---

20     I certify that the foregoing is a correct transcript from the

21     record of proceedings in the above-entitled matter.

22

23                                 /s/ Kimberly M. Bennett
                                   KIMBERLY M. BENNETT
24                                 CSR No. 8953, RPR, CRR, RMR

25



                 KIMBERLY BENNETT, OFFICIAL COURT REPORTER, USDC
